                                                                Aug 20, 2021

                                                              s/ JeremyHeacox




                                                 21-M-473 (SCD)




8-20-21. 10:00 am




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       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

       I, Park Jones, having been duly sworn on oath, state as follows:

                                      I.     INTRODUCTION

        1.     I am employed as a Special Agent with the Internal Revenue Service, Criminal
Investigation Division (“IRS-CI”) and have been so employed since September 2005. As a Special
Agent, my responsibilities include the investigation of potential criminal violations of the Internal
Revenue Code under Title 26 of the United States Code as well as related Title 18 and Title 31
offenses.

       2.      Based on the totality of the facts and circumstances contained in this affidavit, I
submit that there exists probable cause to seize monies up to $405,224 in an account x3264 at
E*TRADE Securities LLC, which was used by LIU to commit violations of Title 18, United States
Code, Sections 1343 and Section 1957 and is subject to forfeiture pursuant to 18 U.S.C. §§
981(a)(1)(A) and (C).

        3.      The facts set forth in this affidavit are based on my own personal knowledge and
information gained through my training and experience. During this investigation, I learned
additional facts from: other individuals, including other law enforcement officers; interviews of
witnesses; and my review of documents and records related to this investigation. Because this
affidavit is submitted for the limited purpose of establishing probable cause in support of the
application for a seizure warrant, it does not set forth each and every fact that I or others have
learned during the course of this investigation.

                          II.    PROPERTY SOUGHT TO BE SEIZED

       4.      I submit this affidavit in support of an application for a warrant to seize $405,224
into E*TRADE x3264. Based on the foregoing, I submit there is probable cause to believe that
Yue Liu, also known as Troy Liu, (LIU) has engaged in violations of 18 U.S.C. § 1343 (wire fraud)
and 18 U.S.C. § 1957 (money laundering). I further submit that LIU’s deposits totaling $405,224
into E*TRADE x3264 account constitutes a violation of 18 U.S.C. § 1957 in that: (1) the deposits
were a monetary transaction involving criminally derived funds; (2) those criminally derived funds
had a value greater than $10,000; (3) the funds were derived from wire fraud, in violation of 18
U.S.C. § 1343, which is a specified unlawful activity under 18 U.S.C. § 1956(c)(7); and (4) each
purchase transaction occurred in the United States.

       5.     For these reasons, I submit that there exists probable cause to believe that up to
$405,224 in funds on deposit in an account at E*TRADE x3264 are:

       a. subject to civil and criminal forfeiture, under 18 U.S.C. §§ 981(a)(l)(A) and
          982(a)(1), as funds involved in or traceable to money laundering offenses, committed
          in violation of 18 U.S.C. § 1957;
       b. subject to civil and criminal forfeiture, under 18 U.S.C. § 981(a)(1)(C), including
          cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and 28 U.S.C. § 2461(c), as




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          property that constitutes or is derived from proceeds traceable to a violation of 18
          U.S.C. § 1343; and
       c. subject to seizure for purposes of civil forfeiture under 18 U.S.C. § 981(b) and for
          purposes of criminal forfeiture under 18 U.S.C. § 982(b)(l) and 21 U.S.C. § 853(f).

                                   III.    PROBABLE CAUSE

        6.      I am currently conducting a joint investigation with the Federal Bureau of
Investigation (“FBI”) and Homeland Security Investigations (“HSI”) focusing on the business and
financial activities of Yue Liu, also known as Troy Liu (hereinafter referred to as “LIU”). The
investigation and evidence obtained to date has revealed that LIU, through a business he operated
and controlled, purported to enroll students from China in what he called a “preferential education
program” and serve as research assistants at the University of Wisconsin-Milwaukee (“UWM”)
while pursuing their Master of Science (“MS”) or Doctorate (“PhD”) degrees.

       7.      LIU is employed as a professor at UWM. According to his online profile page,
LIU is a professor in the Department of Civil and Environmental Engineering. His education and
professional education is listed as follows:

               Education:
                  x Ph.D., Civil Engineering, Department of Civil and Environmental
                      Engineering, University of Maryland – College Park, USA, 2009
                  x M.Sc., Transportation Engineering, School of Transport, Tongji
                      University, China, 2004
                  x B.Sc., Structure Engineering, School of Civil Engineering, Tongji
                      University, China, 2001

               Professional Experience:
                      Aug. 2017 - Present:
                             Professor, Department of Civil and Environmental Engineering,
                             College of Engineering & Applied Science,
                             University of Wisconsin-Milwaukee

                      Aug. 2014 - Aug. 2017:
                             Associate Professor, Department of Civil and Environmental
                             Engineering,
                             College of Engineering & Applied Science,
                             University of Wisconsin-Milwaukee

                      Aug. 2009 - Aug. 2014:
                             Assistant Professor, Department of Civil Engineering and
                             Mechanics,
                             College of Engineering & Applied Science,
                             University of Wisconsin-Milwaukee




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                         ENTITIES USED BY LIU IN THE SCHEME
       8.     According to Wisconsin Department of Financial Institutions (“DFI”) records, on
or about April 7, 2016, LIU submitted a Limited Liability Company (“LLC”) Articles of
Amendment to change the name of an existing LLC established by LIU to UW International
Education Foundation LLC (“UWIEF”). The address listed under the contact information was
P.O. Box 907, Milwaukee, Wisconsin 53201. On or about November 17, 2017, LIU submitted
another LLC Articles of Amendment to change the name UWIEF to Wisconsin International
Education LLC (“WIE”), with its principal office at 2172 W. Saddlebrook Lane in Mequon,
Wisconsin. Based on public records, I am aware that 2172 W. Saddlebrook Lane is Liu’s
residence.

       9.       On or about April 11, 2016, LIU opened a business checking account x3169 at
BMO Harris Bank in the name of UW International Foundation LLC (“UWIF”). On or about
November 17, 2017, LIU changed the name on account x3169 to WIE. Since its opening, LIU has
been the sole signer on the account.

       10.    On or about May 13, 2013, LIU opened an account x6573 at US Bank in the name
of Huixin Investment LLC (“Huixin”), an entity established by LIU. On or about December 1,
2017, LIU changed the name on account x6573 to WIE dba Wisconsin International Education
Foundation. Since its opening, LIU has been the sole signer on the account.

                      LIU’S “PREFERABLE EDUCATION PROGRAM”

        11.     As a professor at UWM, LIU could sponsor international students to study at
UWM. According to UWM records, the graduate students LIU sponsored generally came over on
F-1 non-immigrant visas, for individuals who are full-time students at an accredited college,
university, or other academic institution. The graduate students often held positions as research
assistants, assigned to conduct research to benefit both the student and the University.

        12.    On or about May 31, 2017, an individual who had applied to UWM as a prospective
student received an email from email account wis-international-edu@uwm.edu. The email stated
the following:

       Dear [XXXXX],
       On behalf of Wisconsin International Education Foundation (WIEF), I am glad to notify
       you that we have approved your eligibility for the Preferable Education Program for
       admission to UWM in 2017 fall. Congratulations! All terms and conditions binding the
       preferable program are listed in the attached offer letter.
       Should you have any questions regarding this program, please do not hesitate to contact
       me at wis-international-edu@uwm.edu. Please indicate your acceptance to be enrolled in
       this program by signing the letter and returning a scanned copy of the signed letter to me
       at wis-international-edu@uwm.edu as soon as possible, but not later than June 5, 2017.


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       Again, congratulations and welcome to UWM!
       Ian Wyatt
       13.     Attached to the email was a .pdf file labeled “program-offer-xxxx.” The file was a
16-page letter. On the left side of the header section was the UWM banner. The right side of the
header section had a symbol that had the letters “UWI” interwoven with the words “Education
Foundation” below it. The letter had a return address of P.O. Box 907, Milwaukee, Wisconsin
53201. Based on records from the Wisconsin DFI, I am aware that this is the same address used
by LIU when submitting to the Wisconsin DFI the name change from UWIEF to WIE.

       14.     The opening paragraphs of the letter stated the following:

       Dear [XXXXX],

       On behalf of Wisconsin International Education Foundation (WIEF), I am glad to notify
       you that we have approved your eligibility for the Preferable Education Program for
       admission to UWM in 2017 fall. Congratulations! All terms and conditions binding the
       preferable program are listed as follows:

       1. Overview: This preferential program is operated by WIEF. All students applying to
       UWM must meet the current minimum English proficiency requirements and academic
       standards set by UWM to be considered for this program. This program offers
       preferential financial and other benefits for students to pursue their MS or PhD degrees at
       UWM.

       2. Program Cost: Your yearly cost for the engineering PhD program is $35,540. You
       will be offered graduate assistantship stipend of $1,393 per month (before tax, summer
       recess excluded) by WIEF for a total of $12,540 per year, so your actual cost for study is
       $23,000 per year.

        15.     The additional pages of the letter have information on obtaining a Student Visa,
WIEF deputy office bank account, proof of funding requirements, dependent information, and
criminal background check information. The WIEF deputy office bank account provides
instructions to the student to deposit the program fee into a Chinese bank account. The letter is
signed by Ian Wyatt – Wisconsin International Education Foundation.

        16.      In addition, your affiant has reviewed the .pdf file. In the comments section of the
file, LIU is listed as the author of 7 comments/edits made to the file.

       17.     In or about March 2021, UWM administrators confirmed that UWM has never had
a “Preferable Education Program” or an employee named Ian Wyatt. UWM also confirmed that
it does not currently have any information regarding email account wis-international-
edu@uwm.edu.




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                           PAYMENTS TO LIU FROM STUDENTS

        18.     From on or about April 13, 2016 to on or about April 18, 2016, UWIF account
x3169 received three deposits totaling approximately $90,224. The deposits consisted of wire
transfers originating from bank accounts in China. The amounts of the wire transfers ranged from
$25,088 to $33,568, which are roughly consistent with the cost that LIU was charging students to
be included in his “Preferable Education Program” (“PEP”), as indicated in the letter attached to
the May 31, 2017 email from wis-international-edu@uwm.edu. The wire instructions for two of
the transfers listed the purpose of the transfer was for “graduate tuition” and the other transfer
listed “studying fee UWM.”

        19.     On or about April 19, 2016, LIU issued a check from UWIF account x3169 at BMO
Harris Bank in the amount of $90,224 payable to LIU. The check was deposited into US Bank
account x5723, which according to US Bank records is LIU’s personal checking account. On or
about April 29, 2016, LIU conducted an electronic transfer from account x5723 in the amount of
$100,000 to a Fidelity brokerage account x9579, which according to Fidelity records is in the name
of LIU and his wife. The funds were then used to purchase investments. These funds remained
in Fidelity brokerage account x9579 and were used to buy and sell various investments.

        20.    In or about April and May 2017, UWIF account x3169 received four deposits
totaling approximately $125,507. The deposits were all checks issued from individual bank
accounts at JP Morgan Chase and ranged in amounts from $26,840 to $33,587, which are roughly
consistent with the cost Liu was charging for his PEP. All the checks list a student ID number and
name in the memo line.

        21.    On or about May 19, 2017, LIU issued a check from UWIF account x3169 in the
amount of $90,000 payable to LIU. The check was deposited into LIU’s personal US Bank account
x5723. On or about May 24, 2017, LIU conducted an electronic transfer from account x5723 in
the amount of $90,000 to OptionsHouse, which is an online options and equity broker owned by
E*TRADE. The funds were deposited into E*TRADE account x7119, owned by LIU and his
wife, and used to purchase investments. On or about August 31, 2017, E*TRADE merged account
x7119 with E*TRADE account x3264.

        22.      From in or about June 2017 to in or about August 2017, UWIF account x3169
received three deposits totaling approximately $95,675, consisting of wire transfers that originated
from bank accounts in China. The deposit amounts ranged from $30,552 to $33,558. The wire
instructions for two of the transfers listed the purpose of the transfer was for “campus ID” and the
other transfer listed “UWM Tuition.” In addition, the amounts are roughly consistent with the cost
LIU was charging for his PEP.

        23.    On or about August 21, 2017, LIU issued a check from UWIF account x3169 in the
amount of $70,000 payable to Huixin. On or about September 21, 2017, LIU transferred $60,000
from UWIF account x3169 to the Huixin account x6573. On or about the same day, LIU then
transferred $50,000 from account x6573 to his E*TRADE account x3264 to purchase investments.




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       24.  UWIF/WIE account x3169 at BMO Harris Bank had minimal activity from in or
about November 2017 to in or about May 2018, when it was closed.

        25.    In or about December 2017, WIE account x6573 at US Bank received four deposits
totaling $126,160, consisting of checks from individual accounts at US Bank each in the amount
of $31,540, roughly consistent with the cost LIU was charging for his PEP. On or about December
22, 2017, LIU transferred $24,500 from WIE account x6573 to an unknown bank account and
$19,940 to his personal account x5723 at US Bank. On or about December 26, 2017, LIU
transferred $44,000 from US Bank account x6573 to his personal account x5723 at US Bank. On
or about December 27, 2017, LIU transferred $49,500 from US Bank account x5723 to fund
EdVest, Capital One, and Fidelity investment accounts he controls.

       26.      From in or about April 2018 to in or about May 2018, WIE account x6573 received
five deposits totaling approximately $115,390, consisting of checks in amounts that ranged from
$15,770 to $33,540, which are roughly consistent with the cost LIU was charging for his PEP. The
memo line of the checks listed “tuition,” “2018-2019 program fee,” or the student’s ID number.

       27.    On or about May 29, 2018, LIU transferred $75,000 from US Bank account x6573
to US Bank account x5723. On or about May 30, 2018, LIU then transferred $100,000 from US
Bank account x5723 to E*TRADE account x3264.

       28.     From in or about June 2018 to in or about August 2018, WIE account x6573
received eight deposits totaling approximately $256,427, consisting of wire transfers originating
from accounts held in China. The deposit amounts ranged from $29,558 to $33,555, which are
roughly consistent with the cost LIU was charging for his PEP.

       29.   On or about July 9, 2018, LIU transferred $100,000 from Fidelity account x9579
to US Bank account x5723. On or about July 10, 2018, LIU transferred $100,000 from account
x5723 to E*TRADE account x3264.

       30.    On or about July 26, 2018, LIU transferred $100,000 from US Bank account x6573
to US Bank account x5723. On or about July 27, 2018, LIU then transferred $100,000 from US
Bank account x5723 to E*TRADE account x3264.

        31.    From in or about November 2018 to in or about November 2019, WIE account
x6573 received twelve deposits totaling $365,263.05 consisting of five checks and seven wire
transfers. The deposit amounts ranged from $14,000 to $44,820, which are roughly consistent
with the amounts LIU was charging for his PEP. On three of the checks, a student ID number
was referenced in the memo line. Funds were then withdrawn from the account to fund, for
example, approximately $31,700 to LIU’s American Express account and $22,450 in school
tuition for LIU’s children.

       32.    In 2020, no additional deposits were made into the WIE account x6573 that had
the appearance of being derived from LIU’s PEP.



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        33.      Each year from 2015 to 2020, UWM required LIU to complete an Outside
Activities Disclosure for any outside remunerative relationship that results in payments, transfers
of goods or provision of services. LIU never disclosed his ownership in UWIF/WIE in any of
the annual disclosure forms. Based on my training and experience, and the investigation to date,
I believe that the deposits into accounts x3169 at BMO Harris Bank and x6573 at US Bank
consisted of payments from students for participation in LIU’s PEP.
     FICTITIOUS AGREEMENT BETWEEN UWM AND PRECISION SYSTEMS, INC.
        34.    The investigation and evidence obtained to date has revealed that LIU used a fake
grant or agreement with UWM to justify having the Chinese students—who made payments to
him for his PEP—serve as research assistants.

        35.    In June 2016, UWM entered into a Sponsored Research Agreement (“SRA”) with
Precision Systems, Inc., a company purportedly with its principal place of business in Beijing,
China (“PSI-China”). The executive summary described the project as follows:

       The Department of Civil Engineering in the College of Engineering and Applied Science
       and the Office of Sponsored Programs at the University of Wisconsin-Milwaukee have
       negotiated a Sponsored Research Agreement with Precision Systems, Inc., a Chinese
       company with specialization in highway infrastructure design and planning, traffic
       engineering, traffic control system design, traffic signal design, and street light design.
       Under this agreement, the University will engage with Precision Systems, Inc. to design,
       implement, and test a city-wide traffic work zone project management system for
       Washington, D.C. The services will be provided over a period from June 1, 2016 through
       May 31, 2021. Revenues to the University associated with such services are estimated to
       be $1,562,564. The work will be overseen by Dr. Yue Liu in the Department of Civil
       Engineering.

       36.    The individual who signed the SRA on behalf of PSI-China is Haiying Wang,
who is LIU’s mother. She is listed as Senior Vice President, with an address at P.O. Box 907,
Milwaukee, Wisconsin 53201. This is the same address LIU used when he submitted to the
Wisconsin DFI the name change for UWIEF.

        37.     Precision Systems, Inc. is a company based out of Washington, D.C. (“PSI-DC”).
According to the company’s LinkedIn profile: “Precision Systems, Inc. has provided
professional engineering services for nearly three decades. Our team of professional engineers,
planners, inspectors, software developers and researchers combine practical experience and state-
of-the-art technology to solve day-to-day operational and design issues facing our transportation
system and industry.” According to public records, PSI-DC is currently involved with an
existing city-wide work zone project management system for Washington D.C., which was
deployed in January 2016.

        38.     In or about March 2021, the FBI interviewed a director at PSI-DC. After initially
stating that PSI-DC had never done work with UWM, the director confirmed that LIU was
contracted to work with PSI-DC from March 2013 through December 2014 on a Citywide Work
Zone Project Management System and earned approximately $38,000. PSI-DC does not have

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any current contract with LIU or UWM. In addition, PSI-DC is not involved with the current
$1.5 million SRA between UWM and PSI-China for a city-wide work zone project management
system for Washington D.C.

      39.     According to the SRA, invoices from UWM under the grant were to be issued to
PSI-China at P.O. Box 907. All the payments to UWM under the SRA, however, were made by
WIE, Wang, and another entity connected to LIU.
       40.     On July 8, 2017, LIU issued a check from UWIF account x3169 in the amount of
$47,000 payable to Haiying Wang. As discussed above, I am aware that Haiying Wang is the
name of LIU’s mother. The check was deposited on July 14, 2017 into US Bank account x7865,
which is also in Wang’s name. Wang then issued two checks from the account payable to the
Board of Regents of University of Wisconsin System. The checks were in the amounts of
$23,430.87 and $23,152.89, and dated June 1, 2017 and June 15, 2017, respectively. After signing
both checks, Wang wrote next to her signature “on behalf of Precision Systems.” The checks were
submitted to UWM to pay invoices related to the SRA with PSI-China.

       41.    In or about January, July and October 2018, LIU issued three checks from WIE
account x6573 totaling $174,662.38 to UWM to pay invoices related to the SRA with PSI-China
created by LIU.

        42.   From in or about December 2018 to in or about November 2019, funds were
withdrawn from WIE account x6573 for approximately $54,000 to UWM for the PSI-China and
other agreements.

        43.   On or about July 24, 2019, LIU issued a check from US Bank account x6573
payable to UWM Foundation in the amount of $165,000. In the memo line of the check was
written “Fund #831900 Public Transit Research Fund.” The payment represented a donation to
UWM on WIE’s behalf.

        44.   UWM communicated with PSI-China about the SRA by sending emails to, and
receiving emails from, email account psi.sponsored.research@gmail.com. According to
subpoena results, that email account was created in or about April 2016 and is associated with
the name Haiying Wang and phone number (617) 605-5911, which is used by LIU.

        45.     Based on my training and experience, and the investigation to date, I believe that
LIU set up the SRA between UWM and PSI-China to justify the research assistant positions for
the Chinese students, which benefited LIU financially because the students were making the
payments discussed above to accounts that he controlled. The SRA also benefitted him
professionally. LIU disclosed in his UWM employee activity report the SRA with an estimated
project cost of $1,562,564. UWM confirmed that it considered the SRA and the $1.5 million at
the time LIU was seeking promotion to full Professor in 2017.
                                      INTERVIEW OF LIU
        46.   On or about July 7, 2021, your affiant and investigating agents from FBI and HSI
interviewed LIU at his residence. LIU was asked to explain his involvement with UWIF/WIE,

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which he described as a “consulting” business he owns that assists international students with the
application process, transportation, and lodging. LIU initially stated that his business was “small
scale” and minimized the number of students/customers and profit. Specifically, he reported the
numbers for the years below as approximately:

            x   2016 – 2 students/customers and $8,000 profit;
            x   2017 – 4 students/customers and $15,000 profit; and
            x   2018 – 8 students/customers and $30,000 profit (double the prior year).

        47.     LIU confirmed the name of the program offered by WIE was the PEP. LIU
recalled providing students with a document about the PEP in earlier years, through 2017, but
said he did not provide any documentation to students after 2018. LIU was shown a copy of the
PEP document emailed to a prospective student, as discussed above. LIU admitted that he sent
the document, which was signed by Ian Wyatt at WIE Foundation. LIU admitted that Ian Wyatt
was a fictitious name, which he said he needed to use to gain the trust of the Chinese families.
LIU said he would not be able to gain the trust of Chinese families if the document was signed
by an individual with a Chinese name, so he used that name. LIU admitted that he had owned
the P.O. Box listed on the PEP document. LIU stated that UWM was not aware he used the
UWM logo on the letterhead. LIU admitted creating the document to convince the students and
their families that they needed LIU’s consulting services.

       48.      During the interview, LIU was shown a summary of deposits into BMO Harris
Bank account x3169, from April 2016 to August 2017. LIU confirmed that all the deposits
(except for transfers from other accounts he controlled) on the summary were fees for his
“consulting” business. These deposits total approximately $329,434.

        49.     LIU was also shown a summary of deposits into US Bank account x6573, from
December 2017 to November 2019. LIU again confirmed that all the deposits (except for one
transfer from another account) on the summary were fees for his “consulting” business. These
deposits total approximately $866,248.05.

       50.     LIU admitted that seven smaller deposits on the summaries of deposits into BMO
Harris Bank account x3169 and US Bank account x6573, ranging in amounts from $1,513 to
$6,000, were fees he charged to visiting professors to come to UWM.

       51.    The deposits that LIU admitted were fees for his “consulting” business total
approximately $1,195,682.05. LIU claimed that from those funds he paid for the students’
expenses at UWM. According to LIU, he would collect the funds from various students and then
pay their combined expenses. LIU recalled issuing five to six checks in the amounts of
approximately $30,000 to UWM for these expenses.

        52.    When asked to explain how he was paying for the students’ expenses at UWM,
LIU stated he was paying for the expenses from the PSI-China grant. LIU initially stated the
grant with PSI was “real,” but had been suspended. When asked again later in the interview if
the PSI grant was real, LIU admitted that it was not. He stated that no research was done under
the grant. He admitted to using funds in the UWIF/WIE bank accounts to pay for expenses

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relating to the PSI grant. When asked to explain the purpose of the grant, LIU stated that he did
it to assist the students and for him to earn extra income. LIU further stated the purpose of the
grant was not for “money laundering,” but to assist students and to make “profit” for himself.

         53.   LIU also admitted that he created the email account
psi.sponsored.research@gmail.com to communicate with UWM regarding the grant. He stated
that it would not look good for his name to be associated with communications from that account
to UWM regarding the grant. LIU also admitted that he used the bank account in his mother’s
name to make payments to UWM regarding the grant.

        54.     LIU stated throughout the interview that he was paying student expenses with the
funds he received. LIU stated that UWM offers to students a “package” similar to his PEP. LIU
saw an opportunity to offer his PEP program, which he claimed is a cheaper alternative for the
students. LIU stated that he has an advantage working for UWM and knowing the cost structure
for foreign students. LIU stated that UWM does not know that he operated the PEP and he has
never disclosed it to UWM.

        55.     When asked to estimate the total profit made from operating WIE, LIU estimated
the profit to be approximately $650,000. This figure is roughly consistent with a review of the
bank accounts, which show that he received approximately $1,195,682.05 from the students,
paid back to UWM under the fake PSI-China and other grants approximately $337,651.84, and
provided the donation to UWM of $165,000. LIU stated that he transferred the profit to an
E*TRADE investment account.

        56.     My review of the bank records did not reveal payments to UWM for the students’
combined expenses, as LIU claimed. Instead, the payments to UWM were for invoices from
UWM under the fake SRA with PSI-China. Those invoices included the salaries and fringe
benefits for research assistants that LIU admitted did no research. Payments for tuition
remission, as listed on those invoices, total just $39,355, for fifteen of the students.

                                INTERVIEWS OF STUDENTS
         57.   On or about July 19, 2021, your affiant and investigating agents from FBI and
HSI interviewed Student #1 regarding funds paid to LIU. Student #1 had issued a check to
UWIF from Student #1’s personal bank in the amount of $33,540 in April 2017. This check was
deposited into BMO Harris Bank account x3169. Student #1 believed the first payment was for
tuition.

        58.    Student #1 issued a second check to WIE from Student #1’s personal bank in the
amount of $15,770 in May 2018. The check was deposited into US Bank account x6573. For
the second payment, LIU asked Student #1 to come into his office at UWM. LIU had Student #1
close the door because two other students were waiting outside LIU’s office. LIU requested that
Student #1 make an additional payment for tuition expenses. Student #1 was confused since he
was a research assistant / teaching assistant, which he knew by then would allow him to have
tuition waived at UWM. Student #1 never received any documents or receipts for payments
made to LIU. In addition, LIU never paid for any transportation, meals, expenses, or housing for
Student #1.

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        59.    On or about July 19, 2021, your affiant and investigating agents from FBI and
HSI interviewed Student #2 regarding funds paid to LIU. Student #2 had wired $31,565 into
BMO Harris Bank account x3169 in June 2017 and $29,558 into US Bank account x6573 in
August 2018. Student #2 had met with LIU in his office at UWM to discuss the program and the
cost. Student #2 recalled receiving an email with a UWM header from LIU with details on how
to remit payment to WIE. Student #2 believed LIU’s program was affiliated with UWM.

        60.    Student #2 met with other PhD students who had never paid the program fee to
LIU. Also, Student #2 knew that research assistants and teaching assistants did not need to pay
tuition. Student #2 questioned LIU on the need for the WIE payment. Student #2 did not recall
the specific conversation but stated LIU was convincing in his discussion about the necessity of
being involved in the program.

       61.     Student #2 has never heard of the PSI-China grant. Nonetheless, in review of the
expenses billed to PSI-China by UWM on the grant, Student #2’s name was used to bill
$12,539.97.

       62.     On or about August 3, 2021, your affiant and investigating agents from FBI and
HSI interviewed Student #3 regarding funds paid to LIU. Student #3 met LIU in 2015 during a
presentation LIU gave to students at Shanghai University. LIU’s presentation was regarding a
two-degree program (Masters/Ph.D) at UWM. LIU told the students the cost of the program was
approximately $30,000 which includes tuition, health insurance, and a stipend for living
expenses. Student #3 paid $31,540 to UWIF by check on April 13, 2017.

        63.     Student #3 was asked to make a second payment in May 2018. Student #3 met
with LIU in his office at UWM to discuss the payment. Student #3 questioned LIU about the
cost of the program. LIU explained to Student #3 that the department had limited resources and
the funds were needed to fund the increase in health insurance costs of the program. Later that
same day, LIU had a follow up conversation with Student #3 with Student #1 present during an
online chat. LIU again reiterated that the department had limited resources and needed the funds
to pay for increased health insurance costs. After the meeting, Student #3 stated that Student #1
was suspicious of the payments to LIU. Student #1 conducted internet searches and told Student
#3 that UWIF and WIE are business controlled by LIU. Student #3 subsequently issued a check
to WIE for $15,770 on May 16, 2018.

                                      IV.    CONCLUSION

        64.     Based on the above, I believe that the funds received by LIU were not for any
legitimate purpose related to education activities. Instead, it appears LIU used the funds to
benefit himself. From March 2016 to December 2020, LIU received proceeds of approximately
$1,195,682.05 into BMO Harris x3169 and US Bank account x6573. LIU then “layered” the
proceeds by depositing the funds into a personal bank account x5723 at US Bank and then into a
brokerage account x3264 at E*TRADE to conceal and disguise the original source of the funds.
The total of the funds transferred to E*TRADE x3264 as described above is approximately
$405,224.

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        65.     I further submit that LIU’s deposit of $405,224 into E*TRADE x3264 account
constitutes a violation of 18 U.S.C. § 1957 in that: (1) the deposits were a monetary transaction
involving criminally derived funds; (2) those criminally derived funds had a value greater than
$10,000; (3) the funds were derived from wire fraud, in violation of 18 U.S.C. § 1343, which is a
specified unlawful activity under 18 U.S.C. § 1956(c)(7); and (4) each purchase transaction
occurred in the United States.

       66.    For these reasons, I submit that there exists probable cause to believe that up to
$405,224 in funds on deposit in an account at E*TRADE x3264 are:

           a. subject to civil and criminal forfeiture, under 18 U.S.C. §§ 981(a)(l)(A) and
              982(a)(1), as funds involved in or traceable to money laundering offenses,
              committed in violation of 18 U.S.C. § 1957;
           b. subject to civil and criminal forfeiture, under 18 U.S.C. § 981(a)(1)(C), including
              cross-references to 18 U.S.C. §§ 1956(c)(7) and 1961(1), and 28 U.S.C. §
              2461(c), as property that constitutes or is derived from proceeds traceable to a
              violation of 18 U.S.C. § 1343; and
           c. subject to seizure for purposes of civil forfeiture under 18 U.S.C. § 981(b) and for
              purposes of criminal forfeiture under 18 U.S.C. § 982(b)(l) and 21 U.S.C. §
              853(f).




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